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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

AMERICAN GENERAL LIFE
INSURANCE COMPANY,

Plaintiff,
Vv. C.A. No. 22-1092-GBW

WILMINGTON TRUST,
NATIONAL ASSOCIATION,

Defendant.

STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME
WHEREAS, on March 21, 2025, defendant Wilmington Trust National Association

(“Defendant”) filed a Letter to the Honorable Gregory B. Williams from Steven L. Caponi
regarding Discovery Dispute (D.I. No. 69);

WHEREAS, Defendant’s Letter requested an Order compelling Plaintiff to conduct
additional discovery, sit for a deposition, and permit Defendant to disclose an expert beyond the
deadline stated in the Court’s Scheduling Order (D.I. No. 52);

WHEREAS, on March 25, 2025, plaintiff American General Life Insurance Company
(‘Plaintiff’) filed a Letter to Honorable Gregory B. Williams from Sean J. Bellew regarding
Discovery Dispute (D.I. No. 70);

WHEREAS, Plaintiffs letter opposed Defendant’s motion and proposed an extension of
the trial date to the Court’s next available date to allow the parties time to mediate this dispute and
further proposed that the Court require the parties to submit a status report following any
mediation;

WHEREAS, on April 2, 2025, the Court denied Defendant’s motion to compel; and

WHEREAS, the parties have agreed to extend the remaining scheduling deadlines,

including the dispositive motion and trial dates, to pursue mediation.

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IT IS HEREBY STIPULATED AND AGREED by Plaintiff and Defendant subject to the
approval of the Court, that:

L; The trial currently scheduled in this action for June 9-12, 2025 will be continued
to the Court’s next available trial date.

2. The dispositive motions deadline currently scheduled for April 11, 2025 will be

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rescheduled oye lSaas: .

3. The parties will engage in a mediation by June 20, 2025.

4. If mediation is successful, the parties will file the appropriate stipulation of
dismissal.
5. If mediation is not successful, the parties will file a joint status report within seven

(7) calendar days of an unsuccessful mediation to inform the Court of the case posture and address,
among other matters, the parties’ respective positions on the propriety and scope of any potential
additional pre-trial discovery.
6. The Court, at its discretion, may set a status conference following receipt of the
parties’ joint status report.
I The following dates will be set by the Court for the Final Pretrial Conference and
Trial Date:
Final Pretrial Conference: \) \\ het if, 202 at 5 :00 f.m.
Trial Date: (bve u, 2025 (4 due, Tots Veh
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Dated: April 4, 2025
BELLEW LLC

/s/ Sean J. Bellew

Sean J. Bellew (No. 4072)

2961 Centerville Road, Suite 302
Wilmington, DE 19808

Phone: (302) 535-4951
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Counsel for Plaintiff

Filed 04/15/25
Filed 04/04/25

K&L GATES LLP

/s/ Steven L. Caponi

Steven L. Caponi (No. 3484)
Matthew B. Goeller (No. 6283)
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megan. hunt@klgates.com

Counsel for Defendant

2025.

SO ORDERED this \ wy of Ay G\

Wea.

UNITED STATES DISTRICT JUDGE

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